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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

SLADJANA PERISIC, on behalf of herself
and others similarly situated,

      Plaintiff,

v.                                                     Case No.: 8:16-cv-3255-EAK-MAP

ASHLEY FURNITURE INDUSTRIES, INC.,
a Wisconsin corporation,

      Defendant.

                                         ORDER

      Before the Court is the Parties' Agreed Joint Motion to Set Briefing Schedule for

Defendant's Motion for Summary Judgment and Motion to Exclude Experts and to

Coordinate Hearing Date with Plaintiff's Motion for Class Certification ("Motion") (Doc.

49). The Court having reviewed the Motion, the case file, and being otherwise duly

advised in the premises, it is hereby

       ORDERED and ADJUDGED that:
      The Motion is GRANTED in part and DENIED in part as fully set forth below.




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I.        Briefing Schedule

          The following briefing schedule jointly requested by the Parties for Defendant's

Motion for Summary Judgment, Defendant's Motion to Exclude Experts, and Plaintiff's

Motion for Class Certification is approved and is hereby incorporated by reference in the

Court's Case Management and Scheduling Order (Doc. 21):


     Motion to Exclude Experts                                           March 5, 2018

     Reply in Support of Motion for Summary Judgment                     March 6, 2018

     Reply in Support of Motion for Class Certification                  March 12, 2018

     Opposition to Motion to Exclude Experts                             March 26, 2018

     Reply in Support of Motion to Exclude Experts                       April 16, 2018


II.       Hearing Schedule

          In their Motion, the Parties request an April 30, 2018 hearing date for the following

motions: (1) Plaintiff's Motion for Class Certification; (2) Defendant's Motion for Summary

Judgment; and (3) Motion to Exclude Experts.

          The hearing on Plaintiff's Motion for Class Certification is currently set to take place

before this Court on April 2, 2018.         However, that motion has been duly referred to

Magistrate Judge Mark A. Pizzo for a Report and Recommendation to this Court. That

being the case, the April 2, 2018 hearing date is hereby STRICKEN from the Court's

calendar, and the hearing on Plaintiff's Motion for Class Certification shall be set by

separate order of the Magistrate Judge.

          With regard to the Parties' request that the Court hear argument on Defendant's

Motion for Summary Judgment and Motion to Exclude Experts, they are directed to follow



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the procedures detailed in the Local Rules of this District. It is the general practice of the

Court that motions and other applications are ordinarily determined on the basis of the

motion papers, briefs, and/or legal memoranda. See Local Rule 3.010). Accordingly, the

Court DENIES that portion on the Parties' Motion requesting hearing on Defendant's

Motion for Summary Judgment and Motion to Exclude Experts (which has not yet been

filed with the Court). Whether the Court will hear argument on those. motions will be

decided by the Court on an individual basis upon appropriate request by the Parties.

        DONE and ORDERED in Chambers, in Tampa, Florida this 28th day of February,

2018.




Copies Furnished To:

Counsel/Parties of Record




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